                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION                                   識           。
                                                                                                  c.


                                      DOCKET NO.1:14CR26                              JUN 1 2 20i4
                                                                                     uoS DISTm CouRT
UNITED STATES OF AMERICA,                                                              ‖ 回Ы10F‖ .C。


                        Plaintift
                                                               CONSENT ORDER AND
                V.                                         JUDGⅣ IENT OF FORFEITURE

PATRICK RONALD SILVA,

                        Defendant.



        WHEREAS, the defendant, PATRICK RONALD SILVA, has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Federal Rule of Criminal Procedure I I to one or more criminal offenses under
which forfeiture may be ordered;

         WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 2l U.S.C. S 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject
to forfeiture pursuant to 18 U.S.C . 92253, provided, however, that such forfeiture is subject to any
and all third party claims and interests, pending final adjudication herein;

        WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(l) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

         WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim,lhe defendant hereby waives
                                                                                                   all
right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning
                                                                                           any of the




      Case 1:14-cr-00026-MR-DLH             Document 37        Filed 06/12/14       Page 1 of 3
 property described below has previously been stayed, the defendant hereby consents to a lifting of
 the stay and consents to forfeiture;

         WHEREAS, the undersigned United States District Judge is authorized to enter this Order
 by the previous order of this court No. 3:05MC302-c (September 8, 2005);

         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

         The following property is forfeited to the United States:

        Dell Inspiron Laptop Computer - S/N: 23HWJG1
        Motorola GSM model number XT875, Serial Number: M676eN5eMZ
        HTC model Number ADR6400L serial Number HTI4ES000628
        I Digital Camera
        SD Card(s)
        CD's/DVD(s)

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

         If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21U.S.C. g 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

        Any person. other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

        Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon entry of this
Order of Forfeiture, the United States Attomey's Office is authorized to conduct any discovery
needed to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 of the Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. p.32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as pioriied by Fed. R.
                                                                                                Crim. p.
32.2(c)(2). and the United States shall have clear title to the property, and shall dispose
                                                                                                  of the
property according to law. Pursuant to Rule 32.2(b)(4)(A), the deiendant consents
                                                                                         that this order
shall be final as to defendant upon filing.
                                                   つ４




      Case 1:14-cr-00026-MR-DLH              Document 37        Filed 06/12/14       Page 2 of 3
SO AGMED:



Assistant United States Attornev




Defendant


     III0^^[A,*
Jack W. Stewart. Jr.
Attorney for Defendant




       SttnCd thiS iミ
                        ｀
                        ｀day ofミ も ヽ
                                           ,2014.




                                   United States Magistrate Judge
                                   Western District of North Carolina




     Case 1:14-cr-00026-MR-DLH         Document 37       Filed 06/12/14   Page 3 of 3
